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                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


 STATE OF ALASKA,

      Plaintiff,                             Civil Action No.: 3:23-cv-00007-SLG

 v.
                                             STATE OF ALASKA’S
 BRYAN NEWLAND, in his official              SURREPLY IN FURTHER
 capacity as Assistant Secretary, Indian     RESPONSE TO DEFENDANTS’
 Affairs, U.S. Department of the Interior;   AND INTERVENOR-
 and U.S. DEPARTMENT OF THE                  DEFENDANT’S CROSS-
 INTERIOR,                                   MOTIONS FOR SUMMARY
                                             JUDGMENT
      Defendants, and

 CENTRAL COUNCIL OF THE TLINGIT
 & HAIDA INDIAN TRIBES OF
 ALASKA,

      Intervenor-Defendant.




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       Alaska just experienced the second sea change regarding tribal territorial

jurisdiction in recent memory. The first occurred in November 2022, when the Solicitor

stated that regardless of ANCSA, the Secretary can place Alaska tribes’ lands into trust

and declare Indian Reservations. The second occurred just over two weeks ago when, in

response to the State’s arguments in this litigation, Interior issued a new Solicitor’s

Opinion that partially revoked a 31-year-old Solicitor’s Opinion that concluded Alaska

tribes do not have territorial jurisdiction over Alaska Native allotments. But it did not

stop there. Interior also announced yet another new rule—Alaska tribes now have

territorial jurisdiction over Alaska Native allotments in most circumstances.1 That alone

would be enough to get any courts attention, but there is even more. Along with

announcing its new rule, Interior took on a judicial branch function and declared that a

still-on-the books district court decision, Native Village of Eklutna v. U.S. Department of

the Interior,2 was incorrectly decided.3


1
        See U.S. Dep’t of Interior, M-37079 (“new Solicitor’s Opinion”), at 1-2, Partial
Withdrawal of Solicitor’s Opinion M-36975, Governmental Jurisdiction of Alaska Native
Villages Over Land and Nonmembers, and Clarification of Tribal Jurisdiction Over
Alaska Native Allotments (Feb. 1, 2024),
https://www.doi.gov/sites/default/files/documents/2024-02/m37079-partial-wd-m36975-
and-clarification-trbl-jurisdiction-over-ak-native-allotments-2124.pdf.
2
       2021 WL 4306110, at *4 (D.D.C. Sept. 22, 2021).
3
       New Solicitor’s Opinion, at 15-16. The State mentions that the district court’s
decision in Native Village of Eklutna was still “on the books” given Interior’s and the
Tribe’s continued insistence that this Court follow the vacated decision in Akiachak
Native Cmty. v. Salazar, 935 F. Supp. 2d 195 (D.D.C. 2013), vacated by Akiachak Native
Cmty. v. U.S. Dep’t of Interior, 827 F.3d 100 (D.C. Cir. 2016). The irony of the position
Interior now finds itself in is palpable.

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       Once again, with a stroke of its pen, Interior purportedly changed how Alaska has

operated for the last 50 plus years, since the enactment of the Alaska Native Claims

Settlement Act in 1971. It is not possible in a surreply to detail everything that is wrong

with the new Solicitor’s Opinion. Instead, the State uses this opportunity to explain how

Interior’s action supports the State’s argument that creating Indian country with tribal

territorial jurisdiction in Alaska is a major question and briefly addresses the merits of the

Solicitor’s Opinion.

                                       BACKGROUND

       In its combined opposition and reply, the State discussed the Sansonetti Opinion,

issued in 1993, and the 2021 decision in Native Village of Eklutna that concluded the

Sansonetti Opinion “was valid in the first instance and remain[ed] so today.”4

[See Dkt. 25, at 28-33] It did so to address Interior’s and the Tribe’s claim that this case

was “unremarkable” because millions of acres of restricted fee lands already existed in

Alaska. [Dkt. 19, at ECF 24; Dkt. 21, at ECF 18] In contrast, both the Sansonetti Opinion

and the district court had reached opposite conclusions—that is, they reviewed the Alaska

Native Allotment Act and ANCSA and concluded tribes lacked jurisdiction over Native

allotments. [See Dkt. 25, at 28-29] So, excluding the Annette Islands Reserve, the State

argued that there was at most only 33 acres of lands over which tribes arguably had

territorial jurisdiction in Alaska. [Id.]



4
       2021 WL 4306110, at *4 (D.D.C. Sept. 22, 2021).

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       Unable to dispute the State’s reading of the Sansonetti Opinion and the Native

Village of Eklutna decision, and recognizing as a result Alaska tribes have very little land

base to exercise territorial jurisdiction over, Interior chose an extreme option. On

February 1, 2024, a day before the Tribe’s reply was due, Interior issued a new Solicitor’s

Opinion that revoked the relevant part of the Sansonetti Opinion and declared Native

Village of Eklutna had been wrongly decided.5 Now, according to this new opinion,

“tribes in Alaska are presumed to have jurisdiction over Native allotments” subject to

limited exceptions including (1) when the allotment is owned by a non-tribal member, or

(2) when the allotment is geographically removed from the tribal community.6

Accordingly, as decreed by Interior’s Solicitor, “[u]nless one of those two exceptions

applies, the presumption is unrebutted, and tribal jurisdiction over a Native Allotment is

undisturbed.”7

       The Tribe relied on the new Solicitor’s Opinion in its reply and Interior filed a

“Notice of Supplemental Material” the next business day. [See Dkt. at ECF 8 n.8;

Dkt. 30] With this new Solicitor’s Opinion, Interior will again argue this case is

“unremarkable” because Alaska tribes, excluding the Annette Islands Reserve, have

territorial jurisdiction over 4 to 6 million acres of land and not just 33 acres. For these

reasons, and with leave of this Court, the State files this surreply to respond.


5
       New Solicitor’s Opinion, at 1-2, 15.
6
       Id., at 2.
7
       Id.

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                                        ARGUMENT

    I.      The existence of tribal territorial jurisdiction in Alaska presents a major
            question.

         In two strokes of the Solicitor’s pen, Interior has purportedly changed how Alaska

has operated for over 50 years. The state has supposedly gone from minimal amounts of

tribal territorial jurisdiction to millions of acres overnight. It has also gone from an

understanding based on 50 years of practice that no additional Indian country granting

tribes territorial jurisdiction will be created without congressional action, to the Secretary

now claiming nearly unlimited discretion to do the same on her own. This is all despite

Congress knowing that Alaska tribes lacked territorial jurisdiction and rather than

expressly granting the Secretary the authority she now claims, it created a “distinct

regulatory scheme” different than any other in the country to address this issue.

[See Dkt. 25 at 16-22]

         Interior’s most recent Solicitor’s Opinion is also revealing in that, when

convenient for its own purposes, it too recognizes that Congress should provide clear

statements when addressing tribal territorial jurisdiction in Alaska. Specifically, the

Solicitor’s Opinion relies on the 1994 Privileges and Immunities Amendment to conclude

that the agency must “insist[] on clear statutory directives to justify disparate treatment of

otherwise similarly situated tribes.”8 In other words, Interior now insists that it must




8
         New Solicitor’s Opinion, at 15.

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change its position because it did not have a clear statutory directive for its initial

position. But that is not accurate.

       Even assuming Interior’s application of the Privileges and Immunities

Amendment is correct (it is not), Congress provided another “clear statutory directive” to

treat Alaska tribes differently than Lower 48 tribes when it passed the Indian Land

Consolidation Act Amendments of 2000.9 Through this Act, which Congress enacted

after the Privileges and Immunities Amendment, Congress sought to prevent the further

fractionation of trust allotments made to Indians.10 To do so, it enacted a system that

encouraged the consolidation of fractional interests in a manner that enhanced tribal

sovereignty, promoted tribal self-sufficiency and self-determination and reversed the

effects of the allotment policy on Indian tribes.11 But, as it did with so many other

statutory schemes in this area, Congress provided clear direction that Alaska shall be

treated differently.12

       Relevant here, Congress expressly exempted Alaska from application of the Indian

Land Consolidation Act Amendments.13 It reasoned that although numerous academic

and governmental organizations had studied fractioned ownership of Indian lands outside


9
        Pub. Law. 106-465, 114 Stat. 1991 (November 7, 2000). The State says another
clear statutory directive because it contends ANCSA also served this function.
10
       Id., § 102 (Note to 25 U.S.C. § 2201).
11
       Id.
12
       See 25 U.S.C. § 2219 (Application to Alaska).
13
       Id.

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Alaska, the same type of work had not occurred for ownership in Alaska.14 Without yet

knowing whether there was even a problem, Congress excluded Alaska from application

of the amendments.

       But in exempting Alaska from the Act, Congress also took pains to ensure that

nothing it did could be construed as Alaska tribes having tribal territorial jurisdiction over

Native allotments in Alaska. It enacted a “rule of construction,” found in 25 U.S.C. §

2219(c), that is the “clear statutory directive” that Interior now says it requires. This

provision is an express recognition by Congress that tribes did not hold tribal territorial

jurisdiction over allotment lands in Alaska and a clear statement that Congress sought to

maintain that status quo.15 Specifically, the provision reads:

       Nothing in this section shall be construed to constitute a ratification of any
       determination by any agency, instrumentality, or court of the United States
       that may support the assertion of tribal jurisdiction over allotment lands or
       interests in such land in Alaska.16

Even after Congress amended the Indian Reorganization Act in 1994 to include the

Privileges and Immunities clause, Congress with 25 U.S.C. § 2219(c) recognized that

Alaska was unique, and that Alaska tribes did not have lands it exercised territorial

jurisdiction over like Lower 48 tribes.




14
       25 U.S.C. § 2219(a).
15
       Id. § 2219(c).
16
       Id.

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           The new Solicitor’s Opinion fails to cite or even discuss 25 U.S.C. § 2219(c). If

that provision does not nullify the new opinion, it at least demonstrates that Congress

provided a “clear congressional directive” that Alaska Native allotments are different

than Lower 48 Native allotments. What is more, it completely negates Interior’s attempt

to undermine the State’s argument that the Secretary’s authority to take lands into trust in

Alaska presents a major question. On multiple occasions, Congress has had an

opportunity to do what the Secretary is now trying to accomplish, and on each of those

occasions, Congress has held steadfast—the system that exists in the Lower 48 cannot be

and should not be applied in Alaska.

     II.        The new Solicitor’s Opinion is wrong on the merits.

           A.      The Solicitor does not have the authority to declare a federal district
                   court opinion was wrongly decided.

           Faced with a federal district court decision that contradicted Interior’s newly

found legal position, the Solicitor does something remarkable. He steps beyond his

authority as an executive branch employee to exercise the power reserved by the

constitution to the courts and declares a federal district court decision was wrongly

decided.17 Specifically, the district court held “Sansonetti’s interpretation of the Alaska

Native Allotment Act was correct.”18 The Solicitor disagreed, saying the Sansonetti

Opinion’s interpretation of the Alaska Native Allotment Act was “neither compelled by


17
           New Solicitor’s Opinion, at 16.
18
           2021 WL 4306110, at *6.

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the text of the [Act] nor by any indication of congressional intent.”19 The district court

also rejected Eklutna’s argument that the Privileges and Immunities Amendment

somehow called into question the Sansonetti Opinion, recognizing that the Amendment

“require[d] only that Interior apply the same legal rule in the same manner” and

Sansonetti did that by “applying the general legal test for Indian tribal territorial

jurisdiction to the unique factual and legal circumstances in Alaska.”20 But the Solicitor

also disagreed with the district court on that point, “conclude[ing] that the Eklutna court

erred in both its reasoning and its ultimate conclusion.”21 Not only was the court’s

analysis of the Privileges and Immunities Amendment wrong, in the Solicitor’s opinion,

the “district court [] erred in applying a standard of arbitrariness to reach its

conclusion.”22

       The Solicitor’s approach to this situation is backwards. Federal district court

decisions are binding on federal agencies, and it is the federal courts that get to review

federal agency interpretations.23 Interior does not, as the Solicitor attempts to do here, get

to review federal district court decisions to decide whether they are persuasive



19
       New Solicitor’s Opinion, at 2
20
       2021 WL 4306110, at *7.
21
       Id.
22
       Id.
23
       See U.S. Const. article III, § 1 (“The judicial Power of the United States, shall be
vested in one supreme Court, and in such inferior Courts as the Congress may from time
to time ordain and establish.”).

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interpretations of the law such that they will be followed by the agency. The Solicitor’s

Opinion turns our normal system of judicial review on its head.

       What makes the Solicitor’s position even more problematic is that the agency he

serves—the U.S. Department of the Interior—was a named party in the Native Village of

Eklutna litigation and the district court adopted the agency’s position.24 If anything, the

federal government would be judicially estopped from arguing in this case or even a

future case, a position that is contrary to what it argued in the Eklutna litigation.25

       One last point on this topic. The Solicitor’s decision to “overrule” Native Village

of Eklutna or at least to find that he was not bound by it because it was not persuasive

enough, occurred even though the Tribe in that case, the Native Village of Eklutna, did

not appeal the district court’s decision.26 Notably, the same law firm that represents


24
      See Federal Defendants’ Memorandum in Opp’n to Plaintiff’s Mot. for Summ. J.
and ISO Cross-Motion, Native Village of Eklutna v. U.S. Dep’t of the Interior, 1:19-cv-
02388-DLF (D.D.C.), Dkt. 55-1.
25
        United States v. Paulson, 68 F.4th 528, 547 (9th Cir. 2023), cert. petition pending
(recognizing that judicial estoppel can apply to the federal government and stating the
non-exclusive factors as (1) the party’s later position is clearly inconsistent with its
earlier position; (2) the party succeeded in persuading the court to accept earlier position
such that judicial acceptance of an inconsistent position would create “the perception that
either the first or the second court was misled,” and (3) the party seeking to assert an
inconsistent position would derive an unfair advantage if not estopped (internal quotation
marks omitted)); see also Cuyahoga Metropolitan Housing Auth. v. U.S., 65 Fed. Cl. 534,
554-55 n. 23 (Fed. Cl. 2005) (discussing cases that address whether judicial estoppel
applies to the federal government).
26
       The same is true for Tlingit and Haida, who chose not to appeal the unfavorable
administrative decision it received from the National Indian Gaming Commission even
though that decision followed in near lock step with the federal district court decision in
Native Village of Eklutna. In the Matter of: Appeal of Chairman’s August 19, 2020

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Tlingit and Haida in this litigation represented the Native Village of Eklutna in that

litigation.27

       B.       The federal government correctly recognized in the Eklutna litigation
                that Congress has consistently treated Alaska differently.

       The State encourages the Court to read Interior’s briefing in the Native Village of

Eklutna litigation.28 The State does not represent that it endorses all representations made

by Interior, but for purposes of this litigation, that brief adequately sets out an opposing

view to the new Solicitor Opinion.

       One big difference between the two positions is the agency’s willingness to

recognize that “Alaska is different.” The new Solicitor’s Opinion claims that the “text of

the [Alaska Native Allotment Act] and its legislative history make clear that Congress

intended allotments issued under [it] to be treated similarly to those issued under the




Disapproval of Amendment to Gaming Ordinance of the Central Council of Tlingit and
Haida Indian Tribes of Alaska, Final Decision and Order, February 25, 2021 (NIGC
Decision), available at: https://www.nigc.gov/images/uploads/final-
decisions/NIGCCommissionDecisionCCTHITA2252021.pdf (accessed on February 20,
2024).
27
        Given the date of the district court’s decision, September 22, 2021, it is possible
that the Native Village of Eklutna chose not to appeal because it believed it was more
likely to obtain relief from the new Biden administration than it was from the District of
Columbia Court of Appeals and that an unfavorable decision from the circuit court would
do even more to impede the federal administration’s ability to rewrite federal law than a
district court decision that the Solicitor apparently believes he can ignore.
28
      See Federal Defendants’ Memorandum in Opp’n to Plaintiff’s Mot. for Summ. J.
and ISO Cross-Motion, Native Village of Eklutna v. U.S. Dep’t of the Interior, 1:19-cv-
02388-DLF (D.D.C.), Dkt. 55-1 (“Interior’s Eklutna Br.”).

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General Allotment Act.”29 In Eklutna, however, Interior properly recognized that “[t]ribal

jurisdiction over land in Alaska is unique, including with respect to allotments held

individually by those who may be members of an Alaska tribe.”30 That is because,

Interior conceded, “Congress has frequently legislated in Indian affairs on an Alaska-

specific basis” including through the 1906 Alaska Native Allotment Act and ANCSA.31

       All told, this Court does not need to decide whether the new Solicitor’s Opinion is

right or wrong to resolve the question at issue in this litigation. It is enough for the Court

to see Interior’s action for what it is—an extreme example of an agency trying to course

correct after being reminded, correctly, that its longstanding position (and the one

approved by the federal courts) contradicted its current litigation position.

                                       CONCLUSION

       Trying to equate tribal territorial jurisdiction in Alaska to tribal territorial

jurisdiction in the Lower 48 is like trying to fit a square peg into a round hole. And

Congress has always recognized as much. They are different because Congress, in

exercising its plenary authority over Indian affairs, made them different. The harder

Interior tries to make its policy changes work, the more evident it becomes that this is a

major question that only Congress has the authority to address.32


29
       New Solicitor’s Opinion, at 2.
30
       Interior’s Eklutna Br., at 4.
31
       Id.
32
       See West Virginia v. EPA, 597 U.S. 697, 724 (2022) (explaining that the major
question doctrine applies when the agency “discovers” a new power and that “discovery

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       DATED: February 20, 2024.

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CERTIFICATE OF SERVICE
I hereby certify that on February 20, 2024, I electronically filed the foregoing by using
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/s/ Angela Hobbs
Angela Hobbs
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I certify that this document contains 2,829 words.




allowed it to adopt a regulatory program that Congress had conspicuously and repeatedly
declined to enact itself”).

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